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                                   5                         IN THE UNITED STATES DISTRICT COURT
                                   6                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                   8       GAVIN NEWSOM, et al.,                         Case No. 25-cv-04870-CRB
                                   9                   Plaintiffs,
                                                                                         ORDER DENYING
                                  10             v.                                      ADMINISTRATIVE MOTION TO
                                                                                         CONTINUE PRELIMINARY
                                  11       DONALD J. TRUMP, et al.,                      INJUNCTION BRIEFING
                                                                                         SCHEDULE
                                  12                   Defendants.
Northern District of California
 United States District Court




                                  13           Defendants move to continue the briefing schedule (and, presumably, the June 20,
                                  14   2025 hearing) on Plaintiffs’ forthcoming Motion for Preliminary Injunction until the Ninth
                                  15   Circuit Court of Appeals has ruled on Defendants’ Emergency Motion for Stay Pending
                                  16   Appeal, for which there is a hearing set on June 17, 2025. See Admin. Mot. (dkt. 72).
                                  17   Defendants assert that the Court of Appeals “will presumably issue a prompt ruling,” likely
                                  18   “in a matter of days,” and they propose that the parties meet and confer within a day of that
                                  19   ruling to agree on a new briefing schedule. Id. at 2–3.
                                  20           Delay would be counterproductive. Preliminary injunction briefing would
                                  21   supplement the evidentiary record in this case, providing additional detail and
                                  22   contemporary facts about an evolving situation.1 Indeed, Plaintiffs represent that there are
                                  23   already changed facts relating to: “how National Guard troops are being deployed; how
                                  24   Marines are being utilized . . . ; what the current situation is with regard to unrest on the
                                  25   ground; and whether state law enforcement and federal authorities can adequately address
                                  26   such actions.” Opp’n to Admin. Mot. (dkt. 73) at 2. A more fulsome record would aid
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                                  28     The Court’s Order Granting Plaintiffs’ Application for Temporary Restraining Order
                                       relayed the evidentiary record only through June 9, 2025. TRO (dkt. 64) at 1–8.
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                                   1   both this Court in assessing the proprietary and scope of any preliminary injunctive relief,
                                   2   as well as the Court of Appeals, if and when it undertakes appellate review of this Court’s
                                   3   findings.2
                                   4           Because there is not presently “good cause” to extend the briefing schedule, see
                                   5   Fed. R. Civ. P. 6(b)(1)(A), Defendants’ motion is DENIED.
                                   6           IT IS SO ORDERED.
                                   7           Dated: June 14, 2025
                                                                                        CHARLES R. BREYER
                                   8                                                    United States District Judge
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Northern District of California
 United States District Court




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                                  27     Plaintiffs assert that “there is serious doubt as to whether the Ninth Circuit has
                                       jurisdiction to hear Defendants’ appeal of the TRO.” Id. (citing Serv. Emps. Int’l Union v.
                                  28   Nat’l Union of Healthcare Workers, 598 F.3d 1061, 1067 (9th Cir. 2010)). This Court
                                       takes no position on that matter.
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